                   3:19-cr-30067-SEM-TSH # 139   Page 1 of 6
                                                                                   E-FILED
                                                        Thursday, 01 July, 2021 02:18:54 PM
                                                              Clerk, U.S. District Court, ILCD

            IN THE UNITED STATES DISTRICT COURT
            FOR THE CENTRAL DISTRICT OF ILLINOIS
                    SPRINGFIELD DIVISION


UNITED STATES OF AMERICA,                  )
                                           )
      Plaintiff,                           )
                                           )
 v.                                        )      Case No. 19-30067
                                           )
TODD SHEFFLER,                             )
WILLIE HEDDEN, and                         )
ALEX BANTA,                                )
                                           )
      Defendants.                          )

                                  ORDER

SUE E. MYERSCOUGH, United States District Judge:

      This order summarizes the rulings from the final pretrial

conference held on June 23 and 25, 2021.

                            Jury Instructions

      At the final pretrial conference, the Court made the following

rulings concerning the parties’ proposed jury instructions:

      (1)   Neither Defendant Todd Sheffler nor Defendant Alex Banta

            had objections to the Government’s proposed jury

            instructions or proposed amended jury instructions.




                                  Page 1 of 6
           3:19-cr-30067-SEM-TSH # 139         Page 2 of 6




(2)   The Government’s proposed jury instructions will be

      GIVEN WITHOUT OBJECTION, except for Instruction

      Numbers 30, 31, 45 and 46, which did not properly reflect

      that there are three Defendants charged in Count Two, not

      just a single Defendant.

(3)   The Government’s Instruction Numbers 30A, 31A, 44A

      and 45A, which properly reflect that three Defendants are

      charged   in   Count   Two,       will     be   GIVEN   WITHOUT

      OBJECTION.

(4)   Defendant Alex Banta agreed to withdraw Instruction

      Numbers B1, B2, B4, B5, B6, B7, B8, B11, B12, B14, B15,

      B16 and B17.

(5)   Defendant Banta’s Instruction Number B3 will be GIVEN

      WITHOUT OBJECTION.           Defendant Banta’s Instruction

      Number B9 will be GIVEN WITHOUT OBJECTION, if such

      evidence is admitted.       Defendant Banta’s Instruction

      Number B10 will be GIVEN WITHOUT OBJECTION, if

      such evidence is admitted. Defendant Banta’s Instruction

      Number B12A will be GIVEN WITHOUT OBJECTION.



                          Page 2 of 6
                   3:19-cr-30067-SEM-TSH # 139   Page 3 of 6




             Defendant Banta’s Instruction Number B13 will be GIVEN

             WITHOUT OBJECTION.

     (6)     Defendant Todd Sheffler agreed to withdraw Instruction

             Numbers S1, S2, S3, S4, S5, S6, S7, S8, S10, S11, S12,

             S13, S14, S15, S17, S18 and S19.

     (7)     Defendant Sheffler’s Instruction Numbers 9 and 16 will be

             GIVEN WITHOUT OBJECTION, if justified by the evidence.

     (8)     The parties are directed to resubmit clean versions of their

             jury instructions prior to trial.

                                Motions in Limine

           At the final pretrial conference, the Court made the following

Rulings on the motions in limine submitted by the parties:

     (1)     The Court deferred ruling on Defendant Alex Banta’s

             Motion for an Order Requiring the Government to file its

             Proffer regarding Co-Conspirator Hearsay Statements

             which the Government intends to use at Trial [d/e 46].

             The Government will file a written proffer by June 29, 2021

             if the parties do not reach a resolution.

     (2)     For the reasons stated on the record, Defendant’s Banta’s

             Motion in Limine No. 1 for entry of an Order protecting

                                  Page 3 of 6
            3:19-cr-30067-SEM-TSH # 139   Page 4 of 6




      Banta’s rights under Bruton v. United States [d/e 58] was

      DENIED AS MOOT.

(3)   Defendants Banta and Sheffler’s Motion in Limine No. 2

      [d/e 80] was GRANTED in part and DEFERRED in part as

      to certain issues.

(4)   Defendants’ Motion in Limine No. 3 [d/e 81] was

      GRANTED in part and DENIED in part.

(5)   It was noted that Defendants’ Motion in Limine No. 4 [d/e

      82] was withdrawn prior to the final pretrial conference.

(6)   Defendants’ Motion in Limine No. 5 relating to the Daubert

      objections to Dr. Collier’s opinion [d/e 83] was DENIED

      with leave to re-file.     Defendants have withdrawn the

      portion of the motion relating to compliance with Rule 16

      disclosure requirements as to expert witnesses.

(7)   Defendant Banta’s Motion in Limine No. 6 for entry of an

      Order protecting Banta’s rights pursuant to Bruton v.

      United States [d/e 84] was DENIED AS MOOT.

(8)   The Court deferred until trial ruling on Defendants’ Motion

      in Limine No. 7 relating to the admission of certain

      testimony [d/e 85].

                            Page 4 of 6
           3:19-cr-30067-SEM-TSH # 139     Page 5 of 6




(9)   Defendant Todd Sheffler’s Motion to Sever Trial from co-

      Defendant Alex Banta due to prejudicial joinder [d/e 88]

      was DENIED.

(10) The Government’s Motion in Limine for the Court’s Pre-

      Trial Inquiry of Counsel for Defendant Sheffler [d/e 90]

      was withdrawn by the Government.

                          Other Matters

(1)   All parties agreed to a continuance of the jury trial. Jury

      trial continued to August 3, 2021 at 9:00 a.m., with jury

      selection to commence on August 2, 2021 at 9:00 a.m.

      Defendants Sheffler and Banta personally acknowledged

      their right to a speedy trial and agreed to a continuance.

      The Court found that granting a continuance is in the

      interest of justice and outweighs the Defendants’ and the

      public’s right to a speedy trial, 18 U.S.C. § 3161(h)(7)(A),

      and also is consistent with the Court’s Amended General

      Order Regarding the COVID-19 Public Emergency.             The

      Court   denied   Defendant        Sheffler’s   oral   motion   to

      continue the trial to November 2021.



                          Page 5 of 6
                3:19-cr-30067-SEM-TSH # 139   Page 6 of 6




    (2)   All parties have consented to Magistrate Judge Schanzle-

          Haskins impaneling the jury. Proposed non-routine voir

          dire offered by the parties will be addressed by Judge

          Schanzle-Haskins.

    (3)   The Court informed the parties that in recent trials, the

          Court first called in only vaccinated members of the jury

          pool prior to calling unvaccinated members of the pool, if

          necessary.     Both Defendants have objected to that

          practice. The Court and parties will address the issue

          closer to the trial date.      The issues of masks and jury

          questions will also be addressed closer to trial.

    (4)   Any stipulations shall be filed, in writing, signed by all

          parties prior to trial.



ENTER: June 30, 2021

                                    /s/ Sue E. Myerscough
                                    SUE E. MYERSCOUGH
                                    UNITED STATES DISTRICT JUDGE




                                Page 6 of 6
